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 1                          TRANSCRIPT OF "CONSEQUENCES 2"

 2          E.F.:        See, we done seen a lot of niggas fold. But once you cross the

 3   line with me and fold you cannot come back from that and if you play with me you

 4   will catch one to the dome it cant go wrong rip gp bitch otg shit.

 s   I gotta know what im doing cause these niggas tryna murder me my cousin died

 6   behind this shit now that nigga six deep say we go spray the block spray the block

 7   these guns on repeat a nigga paranoid I pick my gun up before I brush my teeth.

 8         Spazz:        We gone spray the block spray the block till we hear the cops

 9   and we gone spin the block until a body drop we aint getting rest till we find and

10   kill the opps bitch it war forever and this shit a never stop.

11         E.F.:         They got me thinking about a hommy but this a consequences

12   and you get hit in tummy police chasing jumping fences I stayed down for this shit

13   so I dare you try to rob I was out here hitting licks while yo ass had a job.

14         Spazz:        They don't want war with us we scrapped up like the navy

15   nigga and im to slimey for a nigga for to play me nigga I keep that fi' swear I want

16   let you take me nigga I from the gutta but that that shit that made me nigga.

17         E.F.: And I been had this mindset since I was a baby nigga we toting big

18   glocks we done with 380s nigga.

                                                                            "' PLAINTIFF'S
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19          Spazz:       Get to shooting in broad day better hide your old lady nigga um

20   clutching on that fi' my feeling super shady nigga.

21          E.F.: And ima real proper ganster I don't even like to sag the only reason

22   my pants sag this glock on my ass a young bad ass niggas selling drugs and skip

23   class another body dropping that's another toe tag.

24          Spazz:       And I give zero fucks rob that pussy without a mask catching

2s   cases back to back mama say I'm livng fast please don't make a diss or them

26   killers on your ass I was wilding hitting that's why they call a nigga spazz.

27         E.F.:         My first lick I was I 10 that's why they call me bad azz I was

2s   thugging in the streets ian never seen my dad if you play with otg nigga that's

29   money on yo head boy I got my goons in the back and you know that they gone

30   kill some and where I'm from they look at every kid as a murder one he popping

31   pills and shooting guns he don't care he shoot at everyone.

32         E.F.:         He don't give a fuck about no one when he shoot he gone score

33   some always been hardbody can't name a nigga that a hoe some I been toting guns

34   slanging iron im on that thug shit love one hell of a drug I don't want it we aint

35   sparing shit raise the rate aint sparing opponents you gone die you think bout

36   taking some that's on my home hext locked up for a murder boy I hate to see you
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37   gone im spending behind the gang im talking right or wrong soul dark as fuck

38   swear my heart made out of stone told gunna stay down yo ass finna come home

39          E.F.:         See I done did a lot of right done did a lot of wrong don't think

40   I'm going to heaven just pray and hold on and they done took a lot of soldiers I'm

41   tired of seeing stones got niggas and the jail they pray I picked up the phone and

42   we was wilding a young ass kid he love violence.

43          Spazz:       Caught a case and you know I kept it solid jumped in the water

44   and I felt just like a pirate they don't wont beef I swear these niggas on they diet.

45          E.F.:        And we be wilding , see one thing about me ain go do is let a

46   nigga play with me and I got goons and the back who go spray for me. Nigga know

47   what the fuck it is, three gunna three hit real slime shit.
